        Case: 2:15-cv-00326-GCS-KAJ Doc #: 178 Filed: 07/17/19 Page: 1 of 1 PAGEID #: 7420
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Ohio

                  Tommy L. Fenley, et al.                            )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:15-cv-326
                Wood Group Mustang, Inc.                             )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              Report and Recommendation Adopted and Affirmed in that this case is Dismissed.

                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

u decided by Judge                                                                             on a motion for

                                                                                                                                     .

Date:        07/17/2019                                                     CLERK OF COURT


                                                                            /s/ Michelle D. Rahwan, Deputy Clerk
                                                                                          Signature of Clerk or Deputy Clerk
